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   EXHIBIT B
1 0/26/2020             Dozens2:22-cv-01439-JP
                               of Philadelphia police were reinstated after top 24-2
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         NEWS       SPORTS    BUSINESS         OPINION       ELECTIONS      ENTERTAINMENT        LIFE   FOOD   HEALTH    REALESTATE                    QE




      Fired,                    then                     rehired
      Once-secret            records show how the police                                arbitration    system overturned                          the firings
      or discipline          of more than100 questionable                                  Philadelphia     cops.

      by William    Bender and David Gambacorta,               Updated: September 12, 2019



         f                                 y




    After finishinghis       shift at 2 a.m., Officer        Hashaam       Choudri    returned   to his Northeast   Philadelphia     apartment,      poured
     himself    a @lass of Grey Goose vodka, and waited                 for the prostitute   he'd ordered to arrive.

    "Gettin[    a party started,"   Choudri        invited    afriend     in atext.


     The 33-year-old      Philadelphia     police officer       would later claim that he wasn't lookingfor            sexwhen     he hiredthe      woman      from
    Backpage.com,        a clearinghouse        for prostitutes    seized lastyear       bythe    FBI. All he wanted, he insisted,    was   some     female
    companionship.


    Butwhen        two WOnlen arrived      at his apartment         around 4:35 a.m. on Oct. 29, 2016, Choudri          paid the agreed-upon          amount    of
     $200, and one ofthem        performed        oral sex on him in his bedroom.
10/26/2020                   Dozens2:22-cv-01439-JP
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     Choudri      toldthem       that he was a cop and showed off his gun and badge to impress them, accordingto                                       a cell   phone    video

     taken by one of the women. Later in the foota[e,                     they can be seen in his walk-in             closet, trying     on   his clothes.


     The encounter led to an Internal Affairs investigation, which sustained chargesagainst Choudri                                     of solicitin@ aprostitute
     and association          with aknown       criminal.     A Police Board of Inquiry,          consisting      of a captain, lieutenant and rank-and-file
     officer, found him guilty of both counts, and unanimously                         agreed he should be fired. Then-Police                  Commissioner             Richard
     Ross   concurred.




     JESSICA GRIFFIN / FILE PHOTOGRAPH
     Former Police Commissioner Richard Ross was often exasperated by arbitrators who questioned his decision to fire officers accused of committing    crimes.



     Choudri's       union, the Fraternal        Order of Police Lodge No. 5, contested                 his firing   byfiling     a grievance     that rested on a novel
     defense: Choudri didn't understand that the oral sex he received                           for $200 was an actual transaction                 - because he lacked
     certain social skills, and was raised Muslim.


     Under the labor contract           betweenthe          city and the police union, the two parties                settle such disputes with binding
     arbitration.      James C. Peck Jr., the arbitrator              presiding   over the case, said in a March 2018 rulingthat                       he did not believe
     Choudri "had somesort of diminished capacity which prevented him from understandinJ                                             the difference         between
     companionship           and sex for hire," and rejected            the FOP's argument.


     However,       Peck noted, he found the officer            to be an "impressive          young man who is quite articulate,"                and brought            up a
     mitigating      circumstance:       Choudri's      transgressions        had been kept secret.


     RELATED      STORIES


        Could       this state    commission         help weed         out bad cops?

        Inside      the once-secret        misconduct         files    of 27 Philadelphia           police    officers
1 0/26/2020                 Dozens2:22-cv-01439-JP
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    "[T]here      was no evidence            that    Officer     Choudri's      conduct        was a source        of tension     or concern      to other     employees         to the point
    that they refused            to work    with     him,"     Peckwrote.       "With       respectto       the consideration         of harm     to the Philadelphia            Police
    Department,           the events       in question        appear      to have not been reported               in anymedia       outlet    or social media         outlet."


    Finding       (:'houdri     an "otherwise         acceptable          employee,"       Peck orderedthe           officer    returned     to the force. He is now patroning
    the 26th District,           headquartered          in Fishtown.         Choudri        didn't     replyto    requests     for comment.


    Choudri's       case is among 170 previously                   confidential          police
                                                                                                                     "In our profession,                      the few taint
    arbitration       opinions         and settlements          that The Inquirer
                                                                                                                      the many.              And that's             the
    obtained       through       a Right-to-Know             request.      Such unredacted
    records,      which       rarely    see the light     of day, reveal the behind-                                  problem."
    the-scenes        machinations           that enable officers            to regain      their                     Former    Police Commissioner      Charles   H. Ramsey

    jobs and ranks            afk;er they've    been fired       or demoted.


    An analysis        ofthe      cases, which        date from         2011 to 2019, shows that the FOP has successfullyfought                             to have police        discipline
    overturned        or reduced         about 70 percent           of the time.


    The cost to taxpayers               adds up: Among           the 170 cases, the cityhas               paid 26 officers       at least $1.2 million         in back pay and other
    payments.        (The police         department          said it was unable           to locate     records    of all payments         to officers    involved       in arbitration
    since     2011). In addition,          the cit5rhas        paid nearly      $4 million          to settle federallawsuits         involving       15 of the officers.




    CHARLES FOX / FILE PHOTOGRAPH
    Former Police Commissioner Charles H. Ramsey believes arbitrators don't consider the impact their rulings have on the police department and the city when they reinstate cops
    who were dismissed for misconduct. "The reputation of the department gets harmed."



    TO the FOP, the arbitration                system        is auseful     defense       against      bosses who haphazardly              fire cops when          they're   accused      of
    misconduct.         To police       officials,    the factthat         arbitrators       have the final        call on discipline        is a maddening          obstacle    to cleaning
    upthedepartment.                                                                                                                                                                            ,
1 0/26/2020                  Dozens2:22-cv-01439-JP
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    "Philly     is not a bad police             department            at all. It's Hood. But itwill            never realize       its full potential          as long as you have a system
    in place like this,"          said former             Police    Commissioner           Charles     H. Ramsey. "Any             organization          is only as good as the people                  in it.
    The majority          of people       are good people.              But in our profession,           the few taint          the many. And that's              the problem."


    Interviews       with     current       and former              police   leaders,    officers,     city officials,        arbitrators       and union        leaders       reveal there        is
    plenty     of blame      to go aroundwhenever                      a new, incendiary           scandal       makes it seemlike            corruption          is woven       into the police
    department's           DNA.

    READ PROFILESOF PROBLEMCOPS

                                        Inside      the once-secret              misconduct           files     of 27 Philadelphia              police     officers

                                        These police arbitration files detail evidence commissioners used to fire problem officers and the often-successful efforts
                                        by the police union to get punishment overturned.




    <It's       a crime!'

    Call it whatever          you'd      like - the Blue Wall                of Silence,    the Thin        Blue Line - but law enforcement                       agencies       have long been
    accused      of looking       the other          waywhen           one of their      own commits             a crime.     Yet the arbitration          records         showthat        the
    PhiladelphiaPolice             Department's               InternalAffairs           Division      is capable,         at times,    of buildingthorough               cases against           officers
    who've      done things        thatwould               leave an stverade citizen          in handcuffs.


    Eventhose        efforts,      though,        can end up bein[             inadequate         in an arbitrator's          eyes.




    While      most of the citywas                still    asleep on an early March                morning        in 2016, a 24-year-old            woman         called    911 and reported            that
    her ex-boyfriend,           ayoung           off-duty      cop named         Alex McAdams,              had pounded           on the door of her Northeast                  Philly     apartment
    and then shattered             her bedroomwindow.


    Four patrol      officers       and an InternalAffairs                   supervisor      quickly          arrived     and found       blood    spattered       everywhere:           on the
    sidewalk      outside       the woman's               bedroom,       streaked       across her carpet,              smudged       on door handles          and light       switches.     Awhite-
    gold necklace          and a police          badge charm            were missingfrom              her jewelry         box, whichwas           marked        by bloodyfingerprints,
    McAdams         was nowhere             in sight.


    McAdams         would       later     claim      that he'd visited          the woman's          apartment           at 2:30 a.m. out of concern,              because       she'd complained
    earlier     of not    feeling well. As for the brokenwindow?                            It was "precariously              @lazed," McAdams             told an arbitrator,             and simply
    broke when           he knocked.


    But he painted          a different          picture      in a Facebook          post that mornin@: "Glad                 I stuckwith         my pt       feeling.     Caught      my girlfriend
    cheating.      Both ran like cowards.                    Glad I got my badge neckless                [sic] back. No dirty             slut ho... is wearing            my badge on their
    chest. I knew it!!!"


    Internal     Affairs     investigators                copied    the post, obtained         a six-page         statement        from     McAdams'          ex-girlfriend,          interviewed        her
    neighbor,      and matched             the blood         inher      apartment       to crimson          stains      that they found       in McAdarns'           Dodge Charger.              The
    missing necklace was located in the trunk. The DistrictAttorney's                                              Office     charmed him with            burglary,        criminal      trespass,
    theft,    and criminal         mischief,         and Ross fired           him.

    SOLUTIONS

                                        Could      this     state     commission           help      weed       out     bad   cops?

                                        The state Municipal Police Officers' Education and Training Commission can revoke the licenses of officers convicted of
                                        certain crimes or deemed unfit for duty, but rarely does.




    Butthe      criminal      charges        were soon dismissed                 on atechnicality:             McAdams'         ex-girlfriend        didn't      appear      to testify.    The couple
    latergotengaged.                                                                                                                                                                                             /
i 0/26/2020                 Dozens of Philadelphia police were reinstated affer top brass tried to fire them. Once-secret records show how it keeps happening
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    McAdams'         fate ended up in the hands of Peck, the 70-year-old                           arbitrator,      who is based in Media.                In a January        2019 ruling,
    Peckwrote        that although          a "police    officer    needs to behave better            than this,"         he believed       that dismissalwas              too extreme,         and
    ordered      McAdams         to be reinstated,          as long as he completed            anger management                classes. Peck did not respond                  to requests
    for comment.


    All ofthe      records     pertainin@        to McAdams'         criminal      case have since been expunged                       or sealed, leavin@ no public            trace      in the
    criminal      court      system   that he had ever been charged.


    Durin@ a July interview,               Ross couldn't       hide his frustration           as                    "They're             asking          me, 'How              does
    he recounted,          in general,     how arbitrators          questioned      him
                                                                                                                    this correlate                    to being         a police
    about each decision           to fire an officer         for misconduct.
                                                                                                                    officer?'            It's a crime!             What          are
    "They're      askin[      me, 'How      does this correlate          to being apolice                           you talking                  about?"
    officer?"'     Ross said. "It's        a crime!     What    are you talking
                                                                                                                    Former    police    commissioner     Richard   Ross
    about?"


    (A month       after the interview,           Ross abruptly        resigned,     bringing       his 30-year       career      to a stunnin[         end. A female         officer     had
    accused       him in a lawsuit         of retaliating      against    her because         she'd ended an affairwith                  him.)


    Cases like McAdams'               can convey        a muddled      message to younger             cops who are tryingto                understand         howthe        police      force
    functions.      They're      expected        to embodythe        department's           core values       - honor        and integrity        -    at all times.      But getting
    caught up in a criminal              case, even one based on plenty               of evidence,       can end up being the equivalent                      of a paperwork            speed
    bump.


    "Ifthey      get their    back pay, then they got a paid vacation.                     I don't know       if that's      a good teachingtool,"            said Kevin       Gallagher,        a
    former       Law Department            employee       who specialized          in labor    relations.




    Once back onthe            job, tainted       cops can create        problems      for prosecutors           when        those same officers           are required        to testify       in
    criminal      cases. Officers'         misconduct        - which      must be disclosed           to the defense           if it is relevant       to the case - could
    undermine        their     testimony      or police      work    in the minds       of jurors     and judges.


    "We lose legitimate           cases because          we end up with         officers      who should         no longer      be on the force,          or should       have been
    reassigned,       as keywitnesses            in important       cases," said District          Attorney       Larry      Krasner.      "We end up having              to turn    over

    information        on police      officers     who have very questionable                 records,      which     is then used to persuade                ajurythat       they cannot
    be trusted."
1 0/26/2020              Dozens2:22-cv-01439-JP
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     ED HILLE / FILE PHOTOGFIAPH
     Anthony DiLacqua, now retired, oversaw Intemal Affairs from 2008 to 2mO.




     Some of the records obtained            by The Inquirer        detail relatively      minor   matters   - insubordination,        lyiJ    about doctor's      visits,
     violating   the department's          residency    requirement.       But others involve       allegations    that are more disturbing:         sexual assault,
     brutal   displays of domestic         violence,    stalking,   lyingunder     oath.


     Anthony     DiLacqua,      aretired    police chief inspector,         oversaw InternalAffairs          from 2008 to 2010. He andhis            investigators
     had no say in how discipline           was meted out; their job was limited              to determiningwhether           an allegation    could be sustained.
     Stffl, theywere      often dismayed        when cops returned          to the force after Internal       Affairs   had determined        the officers   had
     committed      serious    offenses.


     "We all have avested interest            in tin@to      keep someone off the job who exhibits                behavior    that's intolerable,"    DiLacqua       said.
1 0/26/2020                          Dozens of Philadelphia police were reinstated after top brass tried to fire them. Once-secret
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     The Philadelphia                                    Police           Misconduct                        Database
     An Inquirer           analysis         of 170     arbitration      outcomes          of alleged        Philadelphia              police      misconduct             shows          that   the   Fraternal       Order         of Police        has
     successfully            reversed        or reduced          department-imposed                   discipline        more     than          two-thirds         of the        time.      Records        of these        cases,     which        are
     typically        confidential,           were      obtained       by The       Inquirer      through         a Right-to-Know                 request         and        date   back       to 2011.


     Type      in the      box      below     to search        for   individuals.        Click    on a name            for records         of the         case.

            Search in table


       Name                                      Rank                    Alleged          misconduct                                                                                           Outcome

       Abrams,        Anthony                    Officer                  Sex: prostitution          and unapproved              outside          employment                                   Grievance      partially      granted

       Akil, Nashid                              Sergeant                 Failure      to supervise:        ignored       directive       to check          PFA orders                         Grievance      granted

       Alba,      Danielle                       Officer                  n/a                                                                                                                  Settled:    suspension         reduced

                                                                          Conduct   unbecoming:                lying    about      phony         doctor's
       Amato,        Kristine                    Officer                                                                                                                                       Grievance      partially      granted
                                                                          appointments

       Arch,      Steven                         Lieutenant               Failure      to supervise                                                                                            Settled:    discipline       reduced

       Archie,       Eyleen                      Officer                  Abuse      of authority:        unauthorized           call for police            backup                             Grievance      denied

       Avery,      Anthony                       Officer                  n/a                                                                                                                  Settled:    transferred

       Ayres,      Dan                           Sergeant                 Failure      to supervise                                                                                            Grievance      denied

                                                                                                                                                                                               Settled: suspension            reduced        to
       Bartorilla,        Joe                    Inspector                Failure      to supervise
                                                                                                                                                                                               reprimand

       Baynes,        Keith                      Officer                  Excessive        use of force       on suspect         in custody                                                    Grievance      granted

       Beasley,       Demetrius                  Sergeant                 Conduct        unbecoming:           stealing     utility      services                                              Grievance      denied

       Belciano,          Jason                  Officer                  Drugs:       steroids    use                                                                                         Grievance      granted

       Bell, Doris                               Officer                  Neglect       of duty                                                                                                Settled:    suspension         reduced

                                                                                                                                                                                               Settled: termination            reduced         to
       Bell, Meika                               Officer                  Conduct        unbecoming
                                                                                                                                                                                               suspension

       Billips,    Roxanne                       Officer                  Conduct        unbecoming:           multiple      offenses                                                          Grievance      denied

       Binns,      Robert                        Officer                  Conduct        unbecoming:           neglect      of duty                                                            Settled:    suspension         reduced

       Black,      Maurice                       Sergeant                 Residency         clause     violation                                                                               Grievance      denied

                                                                                                                                                                                               Settled: suspension            reduced        to
       Blackmon,           Darien                Lieutenant               Conduct        unbecoming
                                                                                                                                                                                               reprimand

       Boyer,      Andre                         Officer                  Conduct        unbecoming          and disobedience                                                                  Grievance      granted

                                                                          Conduct        unbecoming     and disobedience                        (lying,     abuse       of
       Boyer,      Andre                         Officer                                                                                                                                       Grievance      denied
                                                                          authority)       and disobedience

       Branish,       William                    Officer                  Drugs:       mailing     marijuana                                                                                   Grievance      denied

       Brooks-Whitaker,
                                                 Officer                  Insubordination                                                                                                      Grievance      denied
       Theresa

       Brown,        Britton                     Officer                  Insubordination                                                                                                      Grievance      granted

       Burke,      Sir James                     Officer                  Conduct        unbecoming:           lying     about     military        leave                                       Grievance      denied

       Byrd,      Aquil                          Officer                  Assault                                                                                                              Grievance      granted

       Cahill,     Sean                          Officer                  False statement            (see Officer         Harvey       case)                                                   Settled:    reinstated

                                                                                                                                                                                               Settled: termination            reduced         to
       Campbell,           Martin                Officer                  Conduct        unbecoming
                                                                                                                                                                                               suspension

       Carbonara,           Joanne               Officer                  Conduct        unbecoming                                                                                            Settled:    reinstated

       Carrion,       William                    Officer                  Conduct        unbecoming                                                                                            Grievance      denied

       Cathey,       Darryl                      Officer                  Conduct        unbecoming                                                                                            Settled:    reinstated

       Chance,        Debra                      Corporal                 Failure      to supervise       and inappropriate                communications                                      Settled:    demotion         overturned

       Choudri,        Hashaam                   Officer                  Sex: so!iciting         prostitution,        associating         with      criminals                                 Grievance      granted

                                                                                                                                                                                               Settled: suspension            reduced,
       Ciarlante,         John                   n/a                      Conduct        unbecoming          (lying)      and insubordination
                                                                                                                                                                                               transferred

       Coco-Feinstein,                                                                                                                                                                         Settled: suspension            reduced        to
       Jennifer
                                                 n/a                      n/a                                                                                                                  reprimand

       Coco, Nicholas                            Officer                  Conduct        unbecoming          and insubordination                                                               Settled:    suspension         reduced

                                                                                                                                                                                               Settled:  termination           reduced         to
       Colville,      Nicholas                   Officer                  n/a                                                                                                                  suspension
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       Cook, Tyrone                      Sergeant        Conduct        unbecoming:               stealing      overtime                                Grievance      denied

       Corrento,      Gerard             Officer         Conduct        unbecoming:               sick time      abuse                                  Grievance      denied

       Costello,      Leo                Sergeant        Conduct        unbecoming                                                                      Settled:    suspension       reduced

       Cujdik,     Jeffrey               Officer         Conduct        unbecoming             (See: Tainted            Justice)                        Grievance      granted:     reinstated

       Dandrige,       Sean              Sergeant        Neglect       of duty:        Failure to investigate                                           Grievance      denied

       Davis, Randy                      Sergeant        Conduct        unbecoming             and neglect           of duty                            Settled:    suspension       reduced

       Dawson,        Bryon              Officer         Conduct        unbecoming                                                                      Settled:    suspension       reduced

       Delagol,      Barry               Officer         Sex: on duty                                                                                   Grievance      denied

       Demnisky,        Jon              Detective       Conduct        unbecoming:               lying,     harassing         civilian                 Grievance      denied

       Eckert,     Daruel                Officer         Insubordination               and neglect           of duty                                    Grievance      partially    granted

       Farrell,
       Mitchell/Hanvey                   Officers        Disobedience:              improper        discharge          of firearm                       Grievance      denied
       Kevin

       Ferriola,     Anthony             Officer         Conduct        unbecoming:               use of racial        slurs                            Settled:     reinstated

       Figueroa,       Veronica          Officer         Lying      about      sick days                                                                Grievance      granted

                                                                                                                                                        Settled: termination          reduced         to
       Fitzgerald,         Sheldon       Officer         Assault
                                                                                                                                                        suspension

       Forest,     Tony                  Officer         Conduct        unbecoming:               drag     racing      resulting          in fatality   Grievance      partia!ly    granted

       Ginaldi,      Anthony             Lieutenant      Insubordination               and making            false   entry                              Settled:     suspension      reduced

       Gonzalez,       Stacey            Officer         Unauthorized            absence                                                                Grievance       denied

       Gore, Deorah                      Detective       Retail     theft                                                                               Grievance       granted

       Graber,     James                 Officer         Abuse       of authority                                                                       Settled:     suspension      reduced

       Graber,     James                 Officer         Domestic           violence:      punching           wife   in bar                             Settled:     reinstated

       Green,      James                 Sergeant        n/a                                                                                            Settled:     demotion       overturned

       Gress, Brian                      Lieutenant      Conduct        unbecoming             and neglect             of duty                          Settled:     suspension      reduced

                                                                                                                                                        Settled:     reference  to suspension
       Griffin,    Erica                 Detective       Neglect       of duty
                                                                                                                                                        removed       from file

       Griffin,    Joseph                Officer         Domestic           violence      and threatening               wife                            Grievance       denied

       Gross, Tamika                     Officer         Failure     to break          up fight      involving         daughter                         Grievance       denied

                                                                                                                                                        Settled:  suspension         reduced          to
       Halbherr,      Nicholas           Officer         n/a
                                                                                                                                                        reprimand

       Hargraves,         John           Officer         Domestic           violence                                                                    Grievance       denied

       Harris,     Constance             Officer         Abuse       of authority                                                                       Settled:     suspension      reduced

       Hartzell,     Steven              Officer         Neglect       of duty                                                                          Grievance       partially    granted

       Harvey,      Joseph               Officer         Sex: masturbating                on woman            on-duty                                   Grievance       denied

       Haviland,       William           Officer         Drunk      on duty                                                                             Grievance       denied

       Herder,     Arthur                Officer         Death      threats                                                                             Grievance       denied

                                                                                                                                                        Settled:  termination         reduced         to
       Hill, Howard                      Officer         n/a                                                                                            suspension

       Hill, Matthew                     Officer         Domestic           violence                                                                    Grievance       granted

                                                                                                                                                        Settled:  demotion          reduced      to
       Holmes,       Carl                Inspector       n/a                                                                                            suspension

       Huff, Robbi                       Officer         Domestic           violence                                                                    Grievance       granted

       Jackson,       Jerome             Officer         Failure     to supervise                                                                       Settled:     suspension       reduced

       Jessie,     Darnell               Officer         Conduct        unbecoming                and neglect          of duty                          Settled:     suspension       reduced

       Johnson,       Margaret           Officer         n/a                                                                                            Settled:     suspension       reduced

       Jones-Wiggins,
                                         Corporal        Interfering         with      criminal      investigations             of sons                 Grievance       denied
       Bernita

       Jones,      Melville              Officer         Conduct        unbecoming                                                                       Grievance      partially    granted

       Jordan,       Dwayne              Officer         Sexual      harassment                                                                          Grievance      denied

       Josey, Jonathan                   Lieutenant      Striking      woman           in face at parade                                                 Grievance      granted

       Kinard,     Dion                  Officer         Insubordination                                                                                 Settled:    suspension       reduced

       Klayman,        David             Officer         Domestic           abuse                                                                        Grievance      granted
1 0/26/2020                           Dozens of Philadelphia police were reinstated after top brass tried to fire them. Once-secret records show how it keeps happening
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       LaSalle,       Anthony                 Lieutenant      Neglect        of duty      and failure           to supervise                                 Settled:
                                                                                                                                                                   one
                                                                                                                                                             restitution
                                                                                                                                                                        charge
                                                                                                                                                                      required
                                                                                                                                                                               removed,

       Lauf,Thomas                            Detective       Insubordination                                                                                Settled:suspensionreduced,
                                                                                                                                                             transferred

       Lawyer,        Ernest                 Officer          Fighting:        swinging          shovel     at women                                         Grievance         partially    granted

       Lawyer,        Ernest                 Officer          Fighting:        with     another        officer                                               Grievance         partially    granted

       Lewis,       Deric                    Officer          Domesticincident                                                                               Settled:reinstated

       Lewis,       Deric                    0fficer          Domestic         incident,         scuffle       with     arresting      officer               Grievance        granted

       Lewis,       Kevin                    Officer          Insubordination                                                                                Settled:suspensionreduced

       Lewis,       Michael                  Officer          n/a                                                                                            Settled:suspensionreduced

       Liciardello,          Thomas
                                             Officers         Narcotics        squad          corruption                                                     Settled: reinstated and paid $90,000
       and others

       Long,      Michael                    Officer          Prohibited            outside      employment                                                  Settlement:         suspension        reduced

       Lupo,      Steven                     Officer          Conduct         unbecoming,              making          false   entry                         Grievance         granted

       Malaczewski,             Mark         Officer          Domestic         abuse                                                                         Grievance         partially    granted

       Manley,       Melissa                 Officer          n/a                                                                                            Settled:      reinstated

       Mann, Cyrus                           Officer          Improper         discharge            of firearm                                               Grievance         granted

                                                                                                                                                             Settled:  termination           reduced      to
       Marion,       Joseph                  Officer         Conduct          unbecoming:              assault
                                                                                                                                                             suspension

       Marsh,       Allen                    Officer          Drugs:       marijuana           consumption                                                   Grievance         granted

       Massi, John                           Sergeant         Insubordination                                                                                Settled:      suspension        reduced

       McAdams,             Alex             Officer          Domestic         incident,         burglary                                                    Grievance         granted

       McCollum,            Robert           Officer          Insubordination                                                                                Grievance         granted

       McCrea,        Andrew                 Officer          n/a                                                                                            Grievance         denied

       McHenry-Walker,
                                             Corporal         n/a                                                                                            Settled:      suspension        reduced
       Donna

       McKnight,          Sean and
                                             Officers         Excessive            use of force                                                              Grievance         granted
       Robinson,          Kevin

       2edycki,        Walter                Sergeant        Conduct          unbecoming                                                                     Settled:      suspension        reduced

       Miles, Jamie                          Officer          Falsified       documents                                                                      Grievance         denied

       Miles, Jamie                          Officer          Stealing       time,      falsified      documents                                             Grievance         partially    granted

       Mills,   B.                           Sergeant        Assault:        off duty                                                                        Grievance         denied

       Mills,   Michael                      Sergeant         Conduct         unbecoming                                                                     Grievance         partially    granted

       Moore,        Jerry                   Officer         Theft:       retail                                                                             Grievance         denied

                                                                                                                                                             Settled:  termination            reduced     to
       Moore,        Tayon                   Officer          Leaving        the scene          of an accident,            criminal      mischief,   theft
                                                                                                                                                             suspension

       Mostiller,      James                 Officer          Profane       or insulting            language          or behavior                            Settled:       violation      changed

                                                                                                                                                             Settled:  termination            reduced     to
       Muhammad,               Talib         Officer         Domestic          violence
                                                                                                                                                             suspension

       Mulholland,            John           Sergeant         Excessive            use of force                                                              Grievance         denied

       Murray,       Joseph                   Detective       False statement              while      testifying                                             Grievance         granted

       Newsome-
                                             Corporal         Insubordination                                                                                Grievance         granted
       Middleton,            Gail

       Newsome,             Marques          Lieutenant       Domestic         violence                                                                      Settled:       reinstated

       Norman,         Kendall               Officer         Conduct          unbecoming:              false     entry                                       Grievance         denied

       Nuble,       Lawrence                 Lieutenant       Failure      to supervise,            neglect       of duty                                    Settled:       suspension       reduced

                                                                                                                                                             Setted:        reinstated,     must     submit    to
       O'Brien,       Steve                  Lieutenant      n/a
                                                                                                                                                             steroid       testing

       O'Donnell,           Adam             Detective       Assault        of detainee                                                                      Grievance         granted

       Ortiz,    Victor                      Officer         Domestic          incident:         GPS stalking,            lying                              Grievance         denied

       Ortiz,    Victor                      Officer          Drugs:      prescription            pill abuse          and overdose                           Grievance         granted

       Paige,     Michael                    Officer         Sex: on duty.             Filed    grievance          seeking        promotion                  Not arbitrated

       Pasquarello,           John           Officer         n/a                                                                                             Settled:       suspension       reduced

       Passalacqua,
                                             Officer         Conduct          unbecoming              (lying)         and disobedience                       Grievance         denied
       Gerald
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       Pleasant,                  Aisha                   Officer             Assault           of officer                                                                       Grievance                  denied

       Porretta,                 Joseph                   Officer             n/a                                                                                                Settled:              restitution              order    withdrawn

       Powell,                Aletta                      Officer             Insubordination                                                                                    Grievance                  denied

                                                                                                                                                                                 Settled: suspension                             reduced       to
       Pressley,                 Sheila                   Sergeant            Abuse            of authority
                                                                                                                                                                                 reprimand

       Quaintance,                         David           Officer            n/a                                                                                                Settled:              reinstated

       Randall,                Stanley                     Officer            Conduct              unbecoming                                                                    Settled:              suspension                reduced

       Rivera,                Jacqueline                   Corporal           n/a                                                                                                Settled:              transfer              rescinded

       Rossiter,                 Kenneth                   Detective          Stealing            time,          including        court     OT while        at home.             Grievance                  granted:            reinstated

       Ruff, Brandon                                       Sergeant           Bringing             bag of guns to police                     station,       lying                Grievance                  denied

                                                                                                                                                                                 Settled: suspension                             reduced       to
       Ryan, Joseph                                        Officer            n/a
                                                                                                                                                                                 reprimand

       Satterfield,                    Holley              Officer            Conduct              unbecoming                 and insubordination                                Grievance                  denied

       Sawicki,                Edward                      Officer            Threats,            using          racial     epithets                                             Grievance                  granted:            reinstated

                                                                              Conduct              unbecoming     (false                  entry)     and neglect       of duty
       Schneider,                    Nicholas              Sergeant                                                                                                              Settled:              suspension                reduced
                                                                              (absence              without  leave)

                                                                                                                                                                                 Settled:              suspension                reduced,
       Schweizer,                     Scott                Officer            Racist          sticker            in locker
                                                                                                                                                                                 received                  $10,000

                                                                                                                                                                                 Settled: termination    changed                                to
       Sees, Joseph                                        Officer            Domestic               violence
                                                                                                                                                                                 retirement   with pension

       Sherwood,                      Donna                Officer            Insubordination                                                                                    Settled:              suspension                reduced

       Smith,                Gerald                        Officer            Domestic               violence                                                                    Grievance                  denied

       Smith,                Gerald                        Officer            Domestic               violence                                                                    Grievance                  granted:            reinstated

                                                                                                                                                                                 Settled: termination   changed                                 to
       Storm,                James                         Officer            Drunken              driving
                                                                                                                                                                                 resignation  with pension

       Sulpizio,                Joseph                     Officer            Theft:          multiple            allegations          on-duty                                   Settled:              reinstated

       Summers,                     Rodney                 Corporal           Conduct              unbecoming                                                                    Grievance                  denied

       Swan,                 Donald                        Officer            Racial          epithets                                                                           Settled:              reinstated

       Szustowicz,                         Denise          Detective          n/a                                                                                                Settled:              suspension                reduced

       Thomas,                  Cathy                      Officer            n/a                                                                                                Settled:              reinstated

       Thomas,                  Elaine                     Officer            Tax fraud                                                                                          Grievance                  denied

       Thomas,                  Jerry                      Officer            Neglect            of duty                                                                         Settled:              suspension                reduced

       Thompson,                       Ronald              Officer            Sex: soliciting                    prostitution                                                    Settled:              reinstated

       Tilghman,                                                                                                                                                                 Settled:              reinstated               and paid
       Lawrence
                                                           Officer            n/a
                                                                                                                                                                                 $150,000

                                                                                                                                                                                 Grievance                  granted,  ordered
       Timms,                 James                        Officer            Domestic               violence             and lying
                                                                                                                                                                                 reinstated                 but failed psych                 exam

       Tones,                 Michael                      Officer            Residency                clause        violation                                                   Grievance                  granted:            reinstated

       Truitt,               Stacey                        Officer            Domestic:               striking            child   with     belt                                  Grievance                  denied

       Turk, Tracey                                        Officer            Asleep           with       gun on lap, ignoring                     orders                        Grievance                   partially          granted

       Wagner,                  Linda                      Officer            Improper               call for officer             assist                                         Grievance                  denied

                                                                                                                                                                                 Grievance                   partially          granted:       transfer
       Walsh,                Thomas                        Sergeant           Theft           of time
                                                                                                                                                                                 overturned

       Weiss,                James                         Detective          Domestic:               stalking            and lying        under     oath                        Grievance                  denied

       Whack,                 Dominick                     Officer            False entry                                                                                        Grievance                   denied

       White,                Quinten                       Sergeant           Disobedience                                                                                       Settled:              suspension                reduced

       Wilson,                Takeya                       Officer            Drunk           on duty             repeatedly                                                     Grievance                   denied

                                                                                                                                                                                 Settled: termination                             reduced       to
       Winckler,                  Tyrone                   Officer            Conduct              unbecoming                 and insubordination
                                                                                                                                                                                 suspension

       Winckler,                  Tyrone                   Officer            Wrongful               discharge              of weapon                                            Grievance                   granted:           reinstated

                                                                                                                                                                                 Grievance                   partially          granted:
       Young-Bachmeyer,
                                                           Sergeant           Theft           of time                                                                            suspension                   upheld,            restitution
       Donna
                                                                                                                                                                                 overturned

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     A dart            and         a wall              of balloons

     The FOP profiles              easily        as the villain           in stories        about      arbitration,          given       its leaders'         usuallyunshakable                   defense        of cops who

     come      under     scrutiny.        But on          ahumid summer                  afternoon at the union's                       sprawliJ            headquarters               inthe Far Northeast,               FOP
     president         John      McNesby           argued          that   he [ets      too much          blame        -   or credit           -    for the union's               success     in arbitration        hearings.


     For years,        he said, police            commissioners                have      opted        to hastily      get rid of cops whose                        alleged        misbehavior        attracted       media
     attention.        McNesby           ranthrough                examples,         from     the 13 officers             fired     in Julyfor            racist     Facebook           posts,    to a squad       of six
     narcotics       cops dismissed                in 2014 after            theywere          indicted        on federal            corruption             charges.          (Ramsey        had vowed         to melt     the

     narcotics       officers'       badges. Instead, theywere                          acquitted, and Jot their jobs back.)

     Commissioners               "just    fire     with      no just        cause,     zero    investigation,             and then            point      the finger             at us," McNesby         said, perched           at
     the end of along             conference              table,     next    to his vice president,                Roosevelt            Poplar,          and Richie             Costello,    the FOP's        political
     coordinator.




     CHARLES FOX /STAFF PHOTOGRAPHER
     FOP president John McNesby (center), and his vice president                 Roosevelt      Poplar (left) and former          president       Richard Costello    (right)    insist the union has no choice but to fight for
     fired cops when police commissioners            don't abide by disciplinary        guidelines.




     "It's    alynching,"         Costello         said.
1 0/26/2020                   Dozens of Philadelphia police were reinstated after top brass tried to fire them. Once-secret records show how it keeps happening
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     The three      men insisted             that the union           is just playin@ bythe            rules ofAct       111, a state lawthat               requires      disputes     between
     government           agencies      and unions           to be resolved          through       bindiy        arbitration.       Inthat       scenario,     the FOP's task is to simply
    prove that police             bosses either         fail to followthe            terms      of the disciplinary             code that's      laid out inthe         union's      contract     with
    the city, or rely on shoddy                InternalAffairs                investigations.


     It's easyto     poke holes in those investigations,                          McNesby          said: "It's    like, you know,          you're     Boing to throw           a dart at awall      full
     ofballoons.         You're     Bonnahit        one ofthem."


     Costello,     who ran the union               from 1988 to 1990, andthen                      again from 1994 to 2002, chimed                       in: "Everybody's          entitledto      due
    process.       That's     our main job. We may not even like the guy, but you have to fire him right.                                                Ifyoufire      him right,      we can't win."




    McNesby         said he and other              union       officials      gather    every Monday             for about two hours             to review      disciplinary         cases and
     discuss     whether       they should            file a grievance           on an officer's       behalf,     the first      step on the roadto            arbitration.


     The FOP often reaches a settlement agreementwith                                        the city before a case @ets to an arbitrator's desk. The reasons can vary.
    Awitness may refuse to testify or can't be reached, for instance, or city officials maywant to avoid haviJ                                                                     an arbitrator
     issue a steep award.             Since 2011, the police                  disciplinary      cases that have been decided                     by an arbitrator,         as opposed         to a pre-
    hearing       settlement,        are roughly           split    between       those denied          andthose        fully     or partially      granted.


    "We're       nottaking         rapists    back,"       said McNesby,            who's    been in charge           ofthe      union       since 2007. "We're           not taking      people that
     are slappingtheir             wives     back."


     In fact, several        cops who were fired                   for domestic         violence      did [et their      jobs backthrou[h                arbitration,      with     the union's
     support.      In each case, the arbitrator                    was a man.


    "What       we're     seeing with         a lot ofthese          domestics          - not sayingthat           some of them           aren't     really    pathetic     - but some of them
     are simple      arguments          between         husband            and wife,"     McNesby           said. "There's        accusations        made, and the next day, when                   they
    both sober up, they're              going, 'Oh boy, what                  did we do?' And it ends there."


    When       Bristol      Township         police     were       called     to the home of Philadelphia                  police     officer     Mark     Malaczewski            for a report     of a
     domestic       incident       in February          2014, his [irlfriend             was clutching           her shoulder         and holding          a clump      of her own hair. She told
    police     that Malaczewski               had punched            her and pushed             her down,        knocking        her head into a brickfireplace,                   accordingto       the
    records.




       Officer            James         Timms
       Terminated following            a January 2013 incident of domestic violence. Ordered reinstated, but failed psychological                                          exam needed to return
       to the force.



       Police responded to Timms' house after a neighbor called police about a domestic dispute involving two married police officers and a
       gunshot, Timms' daughter told investigators                           that Timms had punched his wife in the face and slammed her head on the floor, busting
       her tip and breaking two upper front teeth. 'l am going to kill you," he warned both women, according to the daughter. They fled and
       Timms allegedly fired a round from his wife's service pistol into the first-floor                                 ceiling, then initially lied about firing the gun. He later said
       it was a failed suicide attempt.




                                                                                                     EXPAND




    Malaczewski            pleaded      guiltyto        harassment             and disorderly         conduct       involving        fighting,      Bucks     County      court     records      show,
    andwas        fired     from    the police        force.       But two years later,            arbitrator      James Darby           ruled     that he should         be reinstated.


    And when         Officer       Joseph      Griffinwas            fired    in 2014 for allegedly             punching         and choking        his wife     andthreatening            to kill her if
    she left, the FOP fought                 for him to be rehired.
1 0/26/2020             Dozens of Philadelphia police were reinstated after top24-2
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     Griffin's wife said he had assaulted her, and the city presented an arbitrator with chillin@ text messagesthat he'd sent her:
     'Tm gonna beat the s- out of u tonight... The other ones ain't s- compare (sic) to what you got comin@ tonight."



        Officer     Aisha      B. Pleasant
        Fired in 2012 after being charged with aggravated assault, resisting arrest and obstruction of justice in Atlantic City. Arbitrator Timothy
        J. Brown upheld the firing.



        One night seven years ago at Caesars' Pier, Pleasant - who was off duty - and her pals got into an argument with management                  and
        were escorted off the premises. "You returned and punched an on-duty officer, then left," Internal Affairs investigators wrote in a notice
        of dismissal. Atlantic City Police Officer James Herbert later recalled that Pleasant appeared intoxicated, and told him to "go f-
        yourself" when he walked Pleasant and her friends down a stairwell. She then grabbed onto a railing, refused to let go, and bit Herbert's
        hand.




                                                                            EXPAND




     Accordingto  the arbitration  records, the FOP claimed that the text messages were "of no consequence                           here." Even so,
     arbitrator David J. Reilly upheld the firing.


     Despite McNesby's insistence          that the union won't represent          rapists,   it has filed [rievances    on behalf of cops who were
     accused of sexual assault.


     In December      2011, a North    Phillywoman      told Internal   Affairs    she'd had a horrific     encounter     with Officer Albert     Phipps
     inside aholding      cell in the 9th Police District's     headquarters      at 21st and Hamilton      Streets.




     The woman, who had been arrested for shopliff.in[,              claimed that Phipps walked into the room, instructed               her to pull her
     pants down, and began grinding          against her. In the moments          that followed,    he allegedly    sucked one of her breasts and
     fondled her vagina.


     Internal   Affairs   determined    that Phipps' DNAwas         on the woman's       bra. Ramsey fired Phipps, later telling        arbitrator    Robert
     E. Light thatthe     cop had a troublesome      history.    The FOP sought to have Phipps' reinstated,              but Light rejected them. The
     woman sued Phipps and the city, and received               a $110,000 settlement.        (Phipps couldn't     be reached for comment.)


     Numerous      commissioners,      from outsiders    like Ramsey and John Timoney,              to homt4rown        ones like Sylvester   Johnson      and
     Ross, have complained        of being stymied    bythe     union when they attempted           to make the police force more       honest.
1 0/26/2020                Dozens of Philadelphia police were reinstated after top brass tried to fire them. Once-secret records show how it keeps happening
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    JESSICA GRIFFIN / FILE PHOTOGRAPH
    5ylvester Johnson, who served as police commissioner from 2002 until 2008. tried in vain to get the FOP to help him drafk a new disciplinary code.



    Johnson        was rebuffed        by the union     in 2005 when       he sought      their     input    in updatingthe       department's       disciplinary       code,
    which     dated to the late 1960s. Ramsey,              fed up with     a spate of scandals             that greeted    the start of his tenure         in Philadelphia,
    unilaterally       implemented         a new code in 2010, nearly            doublingthe         number      of rules to 107. The union         complained         to the state
    Labor Relations             Board, but ultimately       accepted      many    of the new rules in its 2014 contractwiththe                     city.


    It remains       to be seen whether        McNesbywffl          clashwith       Christine       Coulter,     the interim     police     commissioner,       or a
    replacement         that Mayor       Jim Kenney       could   pluck    from    another        part ofthe     country.     But whoever      runs the police      department
    will   have to contendwith            the arbitration     process;     accordingto          the city, there     are currently         about 150 open cases pertaining
    to police      discipline      and contract-related       disputes.
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                                 Dozens of Philadelphia police were reinstated after top brass tried to fire them. Once-secret records show how it keeps happening



     Ineptitude                         or    an      uneven                   playing             field?

     Union       leaders        and police         officials      aren't       the onlyplayers         in an arbitration               hearing.      Attorneys         from      the Office        of the City
     Solicitor       present           the police     department's              evidence       in what      amounts        to a mini-trial.               And    The Inquirer's            analysis       shows        that
     the city     has long been outmaneuvered                              bythe     FOP's       lawyers.


    "It's like the L.A. Lakers or the 76ers Hoin@up against a Jrade school team," McNesby said. "I mean, it's not that hard."

     McNesby's            playground           jab was echoed              by Leon       King,     who worked            for more        than     a decade         inthe     solicitor's       office,     and
     negotiated           numerous           arbitration         setl.lements          when      he was assigned           to the Labor            and Employment                 Unit.     He, too, didn't
     mince       words.


    "The unit that handles these cases, where I used to work, typicallythe                                                       attorneys are new, and don't stay loJ.                            They don't get
     anytraining              in regard      to the arbitration               process,      or what     arbitrators        look       for,"    he said. "Theywing               it."


     King,     who       went     on to serve         as the commissioner                  of the city's        prison     system,         accused         the   solicitor's      office and the Law
     Department               of failin@ to develop a strateqic response to the FOP'S long-running                                                success in arbitration                  hearings.




     DAVID MAIALETTI / STAFF PHOTOGRAPHER
     Deputy City Solicitor Cara Leheny, of the Law Department's  labor and employment   unit. said winning                       arbitration   cases is a challenge    when witnesses      aren't available    to testify. But
     she said her attomeys are capable of taking on the FOPas experienced arbitration lawyers.




     Cara Leheny,              a deputy      solicitor         inthe    Law        Department's         labor     and employment                  unit,     strongly       disputed        that: "Our         unit

     attorneys          are    intelligent,        hardworkinH,               persistent,      creative, and equalto our colleagues onthe other side."

     Leheny       noted         that    in arbitrationthe              city    bears     the burden         of proof.     Even       if an InternalAffairs                 investigation          finds       strong
     evidence           of police       misconduct,            much     of that      evidence       then     has to be reproduced                  at arbitration           hearings        months        or even
     years     later.     Witnesses          who      spoke      to Internal         Affairs      near the time          ofthe      alleged       crime         or misconduct          may have moved                  out

     of state,     or ffled       lawsuits         against the cit5r, making them reluctantto                             testify. Others don't want to take a day offwork                                      to sit
     through       a cop's hearing.
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     "It's tough," Leheny said. "It's just very touch."




             Officer            Anthony                     Abrams
           Terminated               in June 2017. Violations                include:       lying    during     an investigation,           associating        with      people    engaged         in criminal     activity,      and
             unapproved             outside       employment.              Reinstated        in May 2018.



             Internal      Affairs      began        investigating          Abrams         in June 2015 after           he shot at a man who he said had robbed                              his live-in    girlfriend.       He told
             police     that he had driven                  her to Brewerytown,               around      1:30 a.m., to buy a cell phone                    from     a man who had advertised                   it on Craigslist.         The
             preliminary            investigation           suggested        instead       that his girlfriend        "had     been scheduling               an appointment             to provide       prostitution         services,"
             according        to arbitration            records.

             Abrams'        girlfriend        later told         an Internal       Affairs    Division       lieutenant       that Abrams'          cell-phone          story    was a lie - that she was a prostitute




                                                                                                                          EXPAND




     Wives            who      are victims             of domestic             abuse         are particularly             prone       to recant,         sometimes              under       pressure       from     their       family,          or

     because             theymaywantthe                          officer      to keep        his job.


     "If      avictim          is financially                dependent             on the     abuser,        that's     another        reasonwhy               she might          not    follow        through"         bytestifying              in

     criminal              court       or at an arbitration                   hearing,         said     John     Delaney,           aformer         First     Assistant          District       Attorneywho               has handled

     police           misconduct               cases.


     In a recent interview,                           Kenney said negotiations                          have be@tin to renewthe                      FOP's contract,               which expires in June 2020. He
     said the citywould                        again look for ways to keep bad cops offthe                                          force.


     "It's      frustratingwhen                       we got a personwe                      know      shouldn't          be there         and they're          put     back,"     Kenney         said. "It's       frustrating            for

     me and             frustrating            for     all of us."


     But       his      administrationwon't                          have     afree        hand       in settingthe           terms        of a new         contract.       If the      union      opposes        any      disciplinary

     changes              in its next          contract,           Kenney          said:     "We're       at the      mercy        ofthe      arbitrator."


     Krasner              insisted         city      officials       need      to find        awayto         address         the    issue.


     "There             is little      doubt         that    there         needs    to be changes              in the      police      contract,"           he said.
10/26/2020                Dozens of Philadelphia police were reinstated afkertop24-2
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     ELIZABETH ROBERTSON/ FILE PHOTOGRAPH
     Christine Coulter, the interim police commissioner, or a replacement chosen by Mayor Jim Kenney,will have to navigate the arbitration process. The city has about 150 open
     arbitration cases pertaining to police discipline and contract-related disputes.



     Some former        city officials     say the secrecythat          surrounds       arbitration     is problematic,        because arbitrators          are   rarely forced
    to account for rulings          that seemingly        reward     bad cops, and those little-explained                decisions      can inflame       tensions     between
    the police department            and communities           that are already distrustful            of law enforcement.


    "The reputation         of the department          gets harmed.       That's obviouslytrue,"            Ramsey said. "But the bottom               line is, it's the public
    that Ithink      gets the raw end of the deal."


     Speaking at an arbitrators'            conference      in Philadelphia        in June, Ramsey urged the attendees to consider                        howtheir       decisions
    can impact the city. "Is this a personwho                   should be out there with a badge and a gun, servingthe                         public?"     he recalled telling
    them. "... I don't see howyou             cannot take that into consideration."


    Gallagher, who representedthe                 city in police arbitration           cases before leaving in the mid-1990s                 to run a bed and breakfast           in

    California,      agreed that the city has long been outg'unned                    bythe    FOP's lawyers.        But he also maintains           a sour view      of how
    arbitrators      render their decisions.
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                              Dozens of Philadelphia police were reinstated after top brass tried to fire them. Once-secret records show how it keeps happening




     HEATHER   KHALIFA/ STAFFPHOTOGRAPHER
     StanleyL. Aiges, a veteran arbitrator, said the FOP'scontinued successin getting police firings overturned is "more a reflection of the ineptitude and overzealousnessof the police
     department."



    "Arbitrators           are strange,"       Gallagher       said. "Those        guys don't          like    to bite    the hand       that     feeds   them."     And,     Gallagher     added,
     arbitrators        have something            in common          with     the cops that           appear     before     them     for hearings:         They      bothwant        to keep
     working.


     Unsurprisingly,            the argument         that     arbitrators       aren't      neutral     doesn't      sit well     with     the arbitrators          themselves.


    "That's        bull -,    pure    bull-.    That's      the sore loser's       argument,"           said Stanley        L. Aiges,       who's      worked       as an arbitrator       for more
     than     50 years.      "The     FOP's     [success]      is more       a reflection       of the ineptitude            and overzealousness                 ofthe      police   department.
     They     make      a lot of stupid        decisions."


     Aiges    presided         over   three    of the 170 cases reviewed                 by reporters.           He ruled       in favor        of an officer      once. "Arbitrators        depend
     on both       sides     to be selected,"      he said. "The            onlywayto         ensure      that    you have that          acceptability          factor    is to call them      as you
     see them."
10/26/2020                 Dozens of Philadelphia police were reinstated after top brass tried to fire them. Once-secret records show how it keeps happening
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    PHILADELPHIA     POLICE DEPARTMENT
    Joseph Griffin, Deric Lewis and Alex McAdams were fired for domestic incidents. McAdams              was i eii ibkokeJ, as wss Lewis - twice. Griffin lost his case after an arbitrator    read text
    messages the officer sent his wife such as: "I'm gonna beat the s - out of u tonight."




    A peek            behind                the      curtain

    Many       of the cases that are outlined                 in the arbitration          records     reveal     allegations       and Internal        Affairs      investigations            that had
    never otherwise               been public.


    In recent      years, the city has only released                    heavily    redacted       versions      of police      arbitration       cases that revealed             the cases'
    outcomes,        notthe         underlying      facts or arbitrators'           findings.


    Some ofthe         newly        disclosed      settlements,         some onlytwo            pages, offer no explanation               of why an officer           was headed         towards
    arbitration       in the first       place. The onlyhint             the public       might     get is ifthe     officer's     conductwas           described        in lawsuits.


    That proved        to be the case with             an officer       named      AnthonyAvery,             whose    name appears            on a 2012 settlement               agreement         that
    showed        he would         be transferred          to the Center     City Police         District,     without     elaborating         on where       he'd previously           been
    stationed,       or whythe         transfer      was necessary.


    Avery, however,               appears    frequently       in court     records.       Between       2008 and 2014, he was sued four times                        infederal        court,     two
    ofthem        for police-involved             shootings      that left two men dead: Timothy                     Goode Jr., and Laurence                Ward.      All told, the cityhas
    spent more than $227,000                    settling     lawsuits     againstAvery.


    He hasn't       kept alowprofile              since being moved           to a districtthat's            a stone's    throw     from     tourist     attractions        like the Liberty
    Bell and Independence                   Hall. City records          showthat      five civilians         have ffled complaints             against      Avery     since 2015. The police
    department         is still     investigatingtwo            complaints         from    last year, one for physical             abuse, the other forverbal                  abuse.
10/26/2020                       Dozens of Philadelphia police were reinstated after top brass tried to fire them. Once-secret records show how it keeps happening
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    How Some                        Police             Discipline                Cases Were                     Decided
    Here are selected categories of alleged police misconduct in thel70 cases reviewed by The Inquirer, and how they were decided through
    the arbitration process. In most cases, the officer's original discipline was overturned or reduced either through a pre-hearing settlement
    or by an arbitrator.

       Settled     before     arbitration          Discipline   reduced    or overturned          Discipline   upheld



    Disobedience/insubordination                                                         9


    Domestic      incidents     or violence


    Conduct      unbecoming        (unspecified      offense)                            TO


    Neglect    of duty                                                                   8


    Assault                                                                              2


    Falsifiedentry/statement/documents

    Failure to supervise                                                                 4


    Sexual misconduct


    Payroll abuse


    Abuse of authority


    Racial slurs                                                                         3


    Drugs


    Excessive force


    Lying


    Drunkenness


    Residency      clause violation



    Chart:JOHNDUCHNESKIE
                      / Staff Artist o Source:PhiladelphiaPoliceDepartment




    Back            to work

    The frequent               fliers       are perhaps         the most troubling               examples         of howthe         arbitration      system      can end up repeatedly
    rewarding            cops who have shown                      they don't beloJ               on the force.


    Officer       Tyrone          Winckler          was fired        in December              2014 for conduct             unbecoming        and insubordination,            but with     the FOP's
    support,        he won his job back through                            arbitration         on act. 20, 2015. Three              days after returniJ           to work,    Winckler      was
    suspendedwith                   intent     to dismiss          for aprevious              allegation       involvingthe         improper        discharge     of his firearmwhile         off duty.
    But in December                     2016, an arbitrator               returned       Winckler          to the force       again.


    Court      records          show that in 2014 the city paid $25,000                               to settle         afederal   lawsuit     ffled by OluAfuwape,           then   a Penn State
    University           student,           who saidWinckler                 inappropriately             Tasered         him on his neckwhile            Afuwape      was trying     to break up a
    fight     in Center          City. Afuwape              was not chargedwith                   anywrongdoing                inthat   incident.


    "He keeps getting                   rehired.       Does he have to take someone's                          life for them       to understand        he shouldn't     be onthe        force?"
    Afuwape          asked. "Howthe                   hell this man @ot his job back, only God knows."


    Officer       Deric Lewis               managed         to get arrested          four times          - inthree          jurisdictions      - during    12 years with       the department.


    Lewis,       now 38, was first                 fired    by Ramsey          in 2010 after he was char[edwith                         domestic       assault    in Philadelphia.       But he was
    reinstated           the followingyear                  through        a settlement          agreement          between        the city andthe        FOP.
10/26/2020                   Dozens of Philadelphia police were reinstated after top brass tried to fire them. Once-secret records show how it keeps happening
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    Ramsey,        in his last       official       action        as commissioner,                  fired    Lewis'       again      after   police     said his wife         called      911 from          their       Upper

    Darby home in 2015, andtold an operator: "Please hurry. He has a g'un and he's BoinHto                                                                      kill me." When               police arrived,              Lewis'
    wife     was uncooperative,                  and Lewis          refused          to [ive       them     his name         or identifyhimself               as a police      officer         -    aviolation           of a
    Philadelphiapolice                 directive.         He tussled          with      one ofthe           Upper      Darby         officers    and later      pleaded        guiltyto            a charge        of

    disorderly        conduct/enga[ing                   in fighting.

    James      Peck     - the same arbitrator                      who      last year        reinstated           Hashaam          Choudri,       the officer        who     had hired             a prostitute,          and
    this    year   reinstatedAlex                McAdams,            who      broke         into    his girlfriend's           apartment          -   heard     Lewis'       case.


    In his ruling,         Peck      acknowledged                 Lewis'     "stunninglack                  of common          sense"        and "remarkably             bad judgment"                 duringhis
    altercation        with     Upper        Darby        police.         But then       Pecktransitioned                 to a surprising             conclusion.


    "I am unconvinced                 that      Lewis,     an otherwise               acceptable            employee,         is beyond         redemption,"           he wrote,        in ordering            Lewis
    reinstated.


    Lewis      - whose        life    motto       on Facebook               is "I am not mean.                I am blunt"          - would        soon prove          Peck wrong.


    In December            2017, Lewis           was arrested              for a fourth            time,    in Yeadon         Borough.          He pleaded          guilty   in March              2018 to disorderly

    conduct/engaging                 in %hting           and was fired athird                      time. The FOP has refused to file a Brievance                               on Lewis' behalf.

    Reached        byphone           this    month,        Lewis          said his most            recent     arrestwas           another        domestic       disturbance             with       his wife,        who     he
    saidwas        intoxicated          and :ngry            at him.       He said an FOP official                    told    himthe         unionwouldn't              support        him     because         itwas        the

    "same      situation       over      and over"           involvin@        Lewis         and his wife.


    Lewis      said he feels          betrayed.


    "I understand           you get fed up with                   stuff    like     that,    but each officer             is supposed           to have     a [rievance         filed     ontheir          behalf,"        he
    said. 'Tve      seen officers            who      beat up their               significant           others,    with      black     eyes and they're             hospitalized          and all that,            and they
    continued         to work        the whole           time."


    8taff    wr4tersDylanPurcell                    and Jul4ana             Feltc4ano           Reyes       contributed           to tMs article.




                                     ELIZABETH ROBERTON / FILE PHOTOGRAPH
                                     The police unionas contract expires next summer. As part of negotiations,                       Mayor Jim Kenney said the city will seek to keep
                                     bad cops off the force, but he realizes the FOP can oppose                   any suggested      changes.




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   How       the   Divided     States   of Pennsylvania                Pennsylvania          now    lets   everyone      vote   by       Philadelphia             Black    Lives       Matter   activists
   reflect     America                                                 mail.    But   poor      people     in Philadelphia               say the       historic      summer            of protests    was
                                                                       remain      forgotten.                                            only   the     beginning




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